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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                           )              CASE NO. 8:14CR357
                                                    )
                Plaintiff,                          )
                                                    )
                vs.                                 )              TENTATIVE FINDINGS
                                                    )
ERNESTO ARROYO,                                     )
                                                    )
                Defendant.                          )

        The Court has received the Revised Presentence Investigation Report (“PSR”) in

this case and the government’s objection (Filing No. 143)1. The Defendant did not object

to the PSR. See Order on Sentencing Schedule, ¶ 6. The Court advises the parties that

these Tentative Findings are issued with the understanding that, pursuant to United States

v. Booker, 543 U.S. 220 (2005), the sentencing guidelines are advisory.

        IT IS ORDERED:

        1.      The government’s “Objection to Presentence Investigation Report and

Plaintiff’s Statement” (Filing No. 143) will be heard at the sentencing hearing, and the Court

intends to adopt the parties’ plea agreement

        2.      The Court intends to adopt the PSR in all other respects;

        3.      If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion

challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary



        1
         The Court advises that the order, referenced by the government in Filing No. 143, was rescinded
on August 6, 2004. (See District Court’s webpage: http://www.ned.uscourts.gov/.) In the future, parties
should follow the deadlines set forth in the Court’s Order on Sentencing Schedule filed in the case.
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hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;

      4.     Absent submission of the information required by paragraph 3 of this Order,

my tentative findings may become final; and

      5.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

      DATED this 13th day of May, 2015.


                                         BY THE COURT:


                                         s/Laurie Smith Camp
                                         Chief United States District Judge




                                               2
